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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


                                      MEMORANDUM



Honorable Anthony W. Ishii                   RE: Nadia Roberts
Senior United States District Judge              Docket Number: 0972 1:11CR00199-002
Fresno, California                               PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Nadia Roberts is requesting permission to travel to Belize.       Nadia Roberts is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date:         On July 30, 2012, Nadia Roberts was sentenced for the
offense(s) of 26 USC 7206 (1), Willfully Making and Subscribing to a False Tax Return, a Class
E Felony.


Sentence Imposed: 12 months 1 day BOP; 12 months TSR; mandatory drug testing waived;
$100 special assessment, $3,219,196.44 restitution (both paid at the time of sentencing);
warrantless search; cooperate with IRS; no weapons.


Dates and Mode of Travel: Depart on airplane Bakersfield, California, 08/01/2014; return
08/05/2014.


Purpose: Personal vacation with husband, Sean Roberts. The matter was discussed with United
States Attorney Mark Cullers who does not object to the travel.




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                                                                                      REV. 05/2013
                                                       TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Nadia Roberts
         Docket Number: 0972 1:11CR00199-001
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                        /s/ Julie R. Martin

                                    JULIE R. MARTIN
                               United States Probation Officer

Dated:    June 16, 2014
          Bakersfield, California
          JRM:jrm
                                    /s/ Thomas A. Burgess
 REVIEWED BY:              THOMAS A. BURGESS
                           Supervising United States Probation Officer




                                    ORDER OF THE COURT

          ☒     Approved        ☐        Disapproved


IT IS SO ORDERED.

Dated: June 16, 2014
                                            SENIOR DISTRICT JUDGE




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                                                                                       REV. 09/2013
                                                        TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
